             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 DAVID L. BOYSEN,

      Plaintiff,
             v.                                 CIVIL ACTION FILE
                                                NO. 1:15-CV-1900-TWT
 ILLINOIS TOOL WORKS INC.
 SEPARATION PAY PLAN, et al.,
      Defendants.


                                 OPINION AND ORDER


         This is an ERISA action. It is before the Court on the Defendants Illinois Tool

Works Inc. Separation Pay Plan (the “Plan”) and Illinois Tool Works Inc.’s (“ITW”)

Motion for Summary Judgment [Doc. 38]. For the reasons set forth below, the

Defendants’ Motion for Summary Judgment [Doc. 38] is GRANTED.

                                       I. Background

         ITW is a Delaware corporation with its principal place of business in Illinois.1

ITW sponsors a self-funded ERISA welfare benefit plan entitled the ITW Separation

Pay Plan.2 ITW designates one of its own employees as Plan Administrator of the

         1
                  Compl. ¶ 3.
         2
                  Defs.’ Statement of Material Facts ¶ 1.
T:\ORDERS\15\Boysen\msjtwt.wpd
             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 2 of 18




Plan. The Plan provides for a multi-level claims process, where an eligible employee

who does not believe that the Plan was applied correctly to his situation may file a

claim for benefits in writing with the Plan Administrator.3 Among other benefits, the

Plan offers severance pay for employees who are laid off. In order to qualify for

severance, employees must be let go “due to a permanent job elimination,” and must

“continue[] to work satisfactorily until his or her termination date, as designated by

the Company.”4 However, employees who are fired for “cause” are not eligible for

severance pay, regardless of whether they would have otherwise qualified.5 The Plan

defines “cause” as including, but not limited to, “unsatisfactory job performance.”6

         The Plaintiff David Boysen began working for ITW as a Controller in 2001.7

He was an at-will employee. In 2006, the Plaintiff became the General Manager for

ITW’s Techspray business unit in Amarillo, Texas.8 In 2010, ITW began to




         3
                  Id. at ¶ 8.
         4
              Id. at ¶ 9. There are other eligibility requirements, but they are not an
issue in this case.
         5
                  Id. at ¶ 10.
         6
                  Id. at ¶ 11.
         7
                  Id. at ¶ 12.
         8
                  Id. at ¶ 13.
T:\ORDERS\15\Boysen\msjtwt.wpd            -2-
             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 3 of 18




consolidate many of its disparate business platforms into larger divisions.9 Among

these consolidations, Techspray was merged with ITW’s other businesses Prolex and

Chemtronics.10 The resulting business unit was then known as ITW Contamination

Control Electronics Group (“ITWCC”).11

         Prior to this merger, Techspray and Chemtronics each had its own manager, but

these roles were combined into one manager position to oversee the new consolidated

entity.12 After the merger, Boysen was promoted to this new management position

effective May 1, 2012, in which he reported directly to the Vice President and General

Manager of ITW Contamination Control Worldwide, Monte Hammouri.13 He

continued in this position until he was fired by ITW on March 17, 2014.14

         The parties agree on all of the facts stated so far, but they fundamentally

disagree about why Boysen was let go. ITW claims that he was let go because of poor

performance. As early as the beginning of 2013, ITW claims that it had concerns



         9
                  Id. at ¶ 15.
         10
                  Id.
         11
                  Id.
         12
                  Id. at ¶ 16.
         13
                  Id. at ¶¶ 16-17.
         14
                  Id. at ¶ 39.
T:\ORDERS\15\Boysen\msjtwt.wpd             -3-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 4 of 18




about the financial performance of the Techspray component of ITWCC.15 On August

1, 2013, Hammouri emailed Boysen about his concerns with ITWCC’s financial

performance, to which Boysen responded, “We are also very disappointed in our

outlooking and financial performance and working hard to eliminate ‘surprises.’”16 On

December 3, 2013, Boysen received an unsatisfactory review and assessment based

on various performance metrics.17 One week later, Boysen received another review

which said that he “need[ed] improvement” in his overall performance.18

         After these two reviews, Boysen was placed on a Performance Review and

Improvement Plan (“PIP”).19 The PIP included six enumerated objectives, and notified

Boysen:

         that in order for you to continue in your current role, you must show
         immediate and sustained improvement in your performance...However,
         if you are unable to bring your performance to an acceptable level in 90
         days and to consistently maintain that level of performance, it may be
         necessary to take additional action including, and up to termination of
         your employment with ITW.20


         15
                  Id. at ¶ 21.
         16
                  Id. at ¶¶ 22-23.
         17
                  Id. at ¶ 26.
         18
                  Id. at ¶ 28.
         19
                  Id. at ¶ 29.
         20
                  Id. at ¶¶ 29-30.
T:\ORDERS\15\Boysen\msjtwt.wpd             -4-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 5 of 18




Further, as part of the PIP process, the Plaintiff agreed to have bi-monthly reviews of

his progress.21

         According to ITW, the results of the PIP period were not successful. During the

January period, Boysen missed revenue projections by $602,000, and missed

operating income projections by $382,000.22 The Plaintiff admitted during the

February PIP period that the financial performance of ITWCC was “not meeting

expectations.”23 And during the March PIP period, Boysen agreed that results were

“[v]ery disappointing.”24 During a performance review meeting on March 10, 2014,

Boysen was allegedly told that “his performance was unsatisfactory to date.”25 One

week later, the Plaintiff was fired.

         Boysen does not dispute any of these hard facts, but he tells a different story

about them. According to Boysen, the performance goals that were set were

unreasonable, pretextual, and largely part of a retaliatory effort to get rid of him as a




         21
                  Id. at ¶ 32.
         22
                  Id. at ¶ 33.
         23
                  Id. at ¶ 34.
         24
                  Id. at ¶ 36.
         25
                  Id. at ¶ 38.
T:\ORDERS\15\Boysen\msjtwt.wpd             -5-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 6 of 18




result of the souring relationship between him and Hammouri.26 Prior to his

disagreements with Hammouri, Boysen alleges that all of his reviews were positive,

and that Hammouri had even described Boysen as the “highest of high potential.”27

However, beginning in June and July of 2013, it seems Hammouri and Boysen began

to have more frequent disagreements, eventually leading to what Boysen says was his

first negative performance review ever in December 2013.28 Boysen contends that

Hammouri doomed him to fail by front-loading all of 2014's growth expectations into

the first quarter of the year, essentially setting performance benchmarks which were

impossible for Boysen to meet.29 And despite significant market challenges, Boysen

says that he continued to outperform the overall electronics division of ITW.

         Boysen also argues that his job was eliminated. When ITW decided to

consolidate many of its disparate businesses into larger, more streamlined business

units, Boysen says that it did the same with the management positions of those units.

After the restructuring, the position of General Manager was eliminated for most

businesses of ITWCC’s size and was replaced by the role of a Business Unit



         26
                  Pl.’s Statement of Additional Material Facts ¶ 28.
         27
                  Id. at ¶ 27.
         28
                  Id. at ¶¶ 29-30.
         29
                  Id. at ¶ 32.
T:\ORDERS\15\Boysen\msjtwt.wpd               -6-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 7 of 18




Manager.30 However, in the case of Boysen and ITWCC, ITW decided to allow

Boysen to continue using the title General Manager and grow ITWCC until it reached

a size that justified being led by a General Manager.31 In other words, though

Boysen’s title stayed the same, he is essentially arguing that he was promoted.

         After he was let go, however, Boysen argues that his job at ITWCC was

eliminated and he was replaced with a lower level Business Manager.32 To be sure, the

job description, advertisement for, and offer letter to Boysen’s replacement that ITW

eventually produced did describe the position as a “Business Unit Manager.”33 And

the advertisement and offer letter only described the job as Business Unit Manager of

Chemtronics alone, though the job description did state that it covered the ITWCC

Electronics Group.34 But ITW alleges that the duties of Boysen’s replacement were

the same as Boysen. And the company argues that the substance of the job was the

same, even if the titles changed.


         30
                  Id. at ¶ 9.
         31
                  Id. at ¶ 11.
         32
                  Id. at ¶ 47.
         33
                  Administrative Record, at 145-49 (hereinafter “AR”).
         34
             Id. The Administrator also acknowledged that it only described
Chemtronics, but that it was his understanding that Boysen’s replacement had also
taken over control of Techspray and Prolex.


T:\ORDERS\15\Boysen\msjtwt.wpd              -7-
             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 8 of 18




         After Boysen was fired, he made a claim for severance benefits under the

Plan.35 On June 27, 2014, the Plan Administrator denied Boysen’s claim.36 In a letter

to the Plaintiff describing his decision, the Administrator stated that, “the basic fact

is that you were terminated for reasons other than the elimination of your job.”37 The

Administrator did note that, “there may, or may not, be other reasons that would

preclude receipt of benefits under the Plan but review of such is unnecessary given the

lack of job elimination as the precipitating cause for your separation.”38

         Boysen appealed that initial determination, and requested a number of

documents related to whether the General Manager position had been eliminated,

including:

         •        Documentation supporting ITW’s assertion that the title of “General
                  Manager” was changed across all ITW businesses to “Business Unit
                  Manager”;
         •        The identity of all current General Managers at ITW;
         •        Job descriptions for General Manager I and Business Unit Manager;
         •        Updated 2014 financial information for Mr. Boysen’s business unit and
                  ITW’s electronics division; and




         35
                  Defs.’ Statement of Material Facts ¶¶ 47-50.
         36
                  Id. at ¶ 51.
         37
                  AR, at 84.
         38
                  Id.


T:\ORDERS\15\Boysen\msjtwt.wpd               -8-
             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 9 of 18




         •        The offer letter provided to Mr. Boysen’s replacement, and basic payroll
                  information for both positions...showing grade level, classification,
                  responsibilities, eligibility for stock, and compensation range....39

Before deciding the appeal, the Administrator responded to Boysen by clarifying the

grounds of the earlier denial, writing, “[t]hat Mr. Boysen was found to have not lost

his job due to a ‘job elimination’ was and is the sole basis for the prior denial of

benefits.”40

         In that response, the Administrator also denied Boysen’s document requests as

irrelevant to the issue of whether there had been a job elimination.41 In particular, the

Administrator said that there was “no singular or unified job description for all

General Manager Is or Business Unit Managers,” and, “[r]egarding Mr. Boysen’s

position, there is no written description reflecting his last role.”42 The Administrator

attached the offer letter, advertisement, and job description of Boysen’s replacement

discussed above, but redacted the financial information related to that position, stating

that “it has no bearing on whether Mr. Boysen’s job was eliminated.”43


         39
                  Id. at 110.
         40
                  Id. at 115 (emphasis in original).
         41
                  Id. at 115-16.
         42
                  Id. at 116.
         43
                  Id.


T:\ORDERS\15\Boysen\msjtwt.wpd                -9-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 10 of 18




         Eventually, the Administrator denied Boysen’s appeal on December 3, 2014.

Again, the Administrator found that “Mr. Boysen’s job was not permanently

eliminated but rather he was replaced...and that the change in title of the position does

not equate to a permanent job elimination under the Plan.”44 The Administrator also

noted that it had offered the opportunity for Boysen to submit evidence in support of

his appeal after the Administrator had denied his requests for documents.45 According

to the Administrator, no other evidence was submitted.46

         Boysen filed this action on March 27, 2015, claiming that he did not receive a

full and fair review of his claim because he was not provided access to the documents

he had requested, and that even if he had, the Administrator’s decision was wrong.

The Defendants counter that the Administrator’s decision was correct because he was

fired for cause and he provided no evidence that his job had been eliminated. The

Defendants now move for summary judgment.

                                  II. Legal Standard

         ERISA denial of benefit claims have a different standard of review than a

normal motion for summary judgment. Though the statute and the regulations do not

         44
                  Id. at 152.
         45
                  Id.
         46
                  Id.


T:\ORDERS\15\Boysen\msjtwt.wpd            -10-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 11 of 18




prescribe a particular standard, the Eleventh Circuit has outlined a six part test to

guide courts in their analysis, known as the Williams test.47 The steps are:

         (1) Apply the de novo standard to determine whether the claim
         administrator's benefits-denial decision is “wrong” (i.e., the court
         disagrees with the administrator's decision); if it is not, then end the
         inquiry and affirm the decision.

         (2) If the administrator's decision in fact is “de novo wrong,” then
         determine whether he was vested with discretion in reviewing claims; if
         not, end judicial inquiry and reverse the decision.

         (3) If the administrator's decision is “de novo wrong” and he was vested
         with discretion in reviewing claims, then determine whether
         “reasonable” grounds supported it (hence, review his decision under the
         more deferential arbitrary and capricious standard).

         (4) If no reasonable grounds exist, then end the inquiry and reverse the
         administrator's decision; if reasonable grounds do exist, then determine
         if he operated under a conflict of interest.

         (5) If there is no conflict, then end the inquiry and affirm the decision.

         (6) If there is a conflict, the conflict should merely be a factor for the
         court to take into account when determining whether an administrator's
         decision was arbitrary and capricious.48




         47
           See Blankenship v. Metro. Life Ins. Co., 644 F.3d 1350, 1354 (11th
Cir.2011) (modifying the original test laid out in Williams v. BellSouth
Telecommunications, Inc., 373 F.3d 1132 (11th Cir. 2004)).
         48
                  Id.


T:\ORDERS\15\Boysen\msjtwt.wpd              -11-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 12 of 18




Though this is the normal framework, ERISA also requires Plans to give participants

an opportunity for a “full and fair review” of their claim if it has been denied.49 The

Eleventh Circuit has viewed this requirement as a “predicate to [a court’s] ability to

review the substantive decision [it has] been asked to review.”50

                                      III. Discussion

         The Plaintiff challenges the benefit denial on two grounds: (1) he did not

receive a full and fair review, and (2) the denial was wrong on the merits. A full and

fair review is a “predicate” to this Court’s ability to substantively review the Plan

Administrator’s decision.51 As a fiduciary, a plan administrator is required to act as

a reasonable and prudent person in his position would.52 This means that an

administrator must adequately investigate any reasonable arguments put forward by

a claimant in the appeal process.

         A. Scope of a Full and Fair Review




         49
                  29 U.S.C. § 1133.
         50
                  Melech v. Life Ins. Co. of N. Am., 739 F.3d 663, 673 (11th Cir. 2014).
         51
                  Id.
         52
             Capone v. Aetna Life Ins. Co., 592 F.3d 1189, 1199 (11th Cir. 2010)
(citing 29 U.S.C. § 1104(a)(1)).


T:\ORDERS\15\Boysen\msjtwt.wpd              -12-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 13 of 18




         The Eleventh Circuit has articulated a standard of reasonableness when it comes

to a plan administrator’s duty to investigate and consider evidence, and under some

circumstances it has remanded cases for failure to do so. In Capone v. Aetna Life Ins.

Co., the plaintiff struck his head on the bottom of the ocean while diving in the

Bahamas, paralyzing himself from the neck down.53 When he was taken to the

hospital, a blood test revealed that the plaintiff’s blood alcohol content was

somewhere north of 0.2.54 When the plaintiff sought disability benefits, the plan

denied his claim on two grounds. First, the plan said that it was not an “accident”

under the policy because the plaintiff had taken unnecessary and foreseeable risks by

“voluntarily diving from a fifteen to twenty foot high dock into the ocean.”55 The plan

only considered an accident report from the property owner, as well as testimony

provided by a security officer “who indicated that ‘no diving’ signs were posted on

the dock and ignored by [the plaintiff].”56 The plan also claimed that because the




         53
                  Id. at 1192.
         54
                  Id. at 1192-93.
         55
                  Id. at 1193.
         56
                  Id.


T:\ORDERS\15\Boysen\msjtwt.wpd             -13-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 14 of 18




injuries were “caused or contributed to by the use of alcohol,” the plaintiff was not

entitled to benefits even if it was an accident.57

         The plaintiff appealed the original determination. In his appeal, the plaintiff

argued that “no diving” signs were not posted, that the dock was only four to five feet

above the water, that tidal action could have caused the injury, and that he was not

intoxicated at the time of accident.58 The plaintiff provided the plan with photographs

which supported his assertions. Despite this evidence, the plan denied his appeal

without investigating or addressing the additional evidence the plaintiff had

provided.59

         The Eleventh Circuit eventually remanded the case due to the plan’s failure to

investigate the plaintiff’s arguments. The plan “failed to investigate...the tidal

conditions at the time of the accident...made no attempt to locate other guests who

might have been on the scene,” and took no action even after the plaintiff had shown

that its original understanding of the dock height was “clearly erroneous.”60 The court

remanded the case back to the plan administrator because the plan’s failure to


         57
                  Id.
         58
                  Id. at 1193-94.
         59
                  Id.
         60
                  Id. at 1199.


T:\ORDERS\15\Boysen\msjtwt.wpd             -14-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 15 of 18




investigate and address the issues raised in the appeal was “de novo wrong.”61 Though

the court analyzed the issue under the first step of the Williams test, it also articulated

the standard for an administrator’s duty to investigate. The court cited the ERISA

standard for fiduciaries, which states that a fiduciary shall “discharge his duties...with

the care, skill, prudence, and diligence under the circumstances...that a prudent man

acting in a like capacity and familiar with such matters would use....”62 In other words,

the court said that the plan “had the responsibility to fully investigate [the plaintiff’s]

claims before denying benefits.”63

         The Defendants urge the Court to look to the regulations promulgated pursuant

to ERISA to define what evidence is relevant, as some other courts have done.64 Under

these regulations, an ERISA governed plan is required to provide a full and fair

review, and that a claims process will not be deemed to be full and fair “unless the

claims procedures...(iii) provide that a claimant shall be provided...reasonable access

to...all documents, records, and other information relevant to the claimant’s claim for


         61
                  Id. at 1200.
         62
                  Id. at 1199 (citing 29 U.S.C. § 1104(a)(1)).
         63
                  Id. at 1199-1200.
         64
                  See Finch v. Hillshire Brands Co., 83 F. Supp. 3d 1211, 1226-1229 (N.D.
Ala. 2015).


T:\ORDERS\15\Boysen\msjtwt.wpd               -15-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 16 of 18




benefits.”65 The regulations define “relevant” as anything that was relied upon,

submitted, considered, or generated in the course of making the benefit

determination.66 To be sure, this does not mean that an administrator is required to

“ferret out evidence” for every conspiracy theory put forward by claimants, let alone

evidence which is in the possession of others.67 But an administrator’s refusal to

consider evidence or search for it will be judged against the standard of prudence laid

out in ERISA.68




         65
             29 C.F.R. § 2560.503-1(h)(2) (emphasis added). The Court acknowledges
that on December 19, 2016, the Employee Benefits Service Administration adopted
regulations amending this section that may or may not change this analysis. See
Claims Procedure for Plans Providing Disability Benefits, 81 Fed. Reg. 92316 (to be
codified at 29 C.F.R. pt. 2560). However, those regulations are not effective until
January 18, 2017, and do not apply to claims filed before January 1, 2018. Therefore,
the Court does not need to address them here.
         66
                  29 C.F.R. § 2560.503-1(m)(8).
         67
                  Melech, 739 F.3d at 673.
         68
                  See 29 U.S.C. § 1104(a)(1)


T:\ORDERS\15\Boysen\msjtwt.wpd               -16-
          Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 17 of 18




         B. Review of Boysen’s Claim

         As discussed, Boysen requested a number of different types of documents. The

Plan Administrator repeatedly stated that the fact that Boysen “was found to have not

lost his job due to a ‘job elimination’ was and is the sole basis for the prior denial of

benefits.”69 Because the issue of job elimination was the only one which the

Administrator considered, the Administrator only needed to investigate arguments that

were reasonably connected to that issue. Whether Boysen was fired for cause is

irrelevant.

         This is not a case where the Administrator refused to consider evidence

submitted by the Plaintiff. The Administrator made a reasonable response to the

Plaintiff’s document requests. The Plaintiff has failed to show a reasonable likelihood

that production of the additional documents requested would have made any

difference in the rejection of his claim initially and on appeal. The mere fact that there

is a dispute about what should have been produced is insufficient to justify a remand

of the matter for further consideration by the Administrator of information that it has

already deemed to be irrelevant to the critical decision of whether the Plaintiff’s

position was eliminated.


         69
                  AR, at 115.


T:\ORDERS\15\Boysen\msjtwt.wpd             -17-
             Case 1:15-cv-01900-TWT Document 67 Filed 01/04/17 Page 18 of 18




            C. Applying the Williams Test

            The Plaintiff’s claim fails under the first three steps of the Williams test. First,

the decision of the Administrator to deny the claim was not “wrong.” The

documentary record is absolutely clear that the Plaintiff was fired for poor

performance. There is no evidence that this was a pretext for eliminating his position.

Second, the Administrator was given discretion in reviewing claims under the Plan.

Third, the Administrator had reasonable grounds to support the initial denial of

benefits and the subsequent denial of the appeal. Again, the fact that the Plaintiff did

not receive all of the documents that he requested does not mean that the decision of

the Administrator was unreasonable.

                                         IV. Conclusion

            For the reasons stated above, the Defendants’ Motion for Summary Judgment

[Doc. 38] is GRANTED.

            SO ORDERED, this 4 day of January, 2017.



                                       /s/Thomas W. Thrash
                                       THOMAS W. THRASH, JR.
                                       United States District Judge




T:\ORDERS\15\Boysen\msjtwt.wpd                  -18-
